           Case 4:18-cr-00049-JED Document 33 Filed in USDC ND/OK on 07/02/20 Page 1 of 3

PROB 12B
(8/16)

                                 United States District Court for
                                    The Northern District of Oklahoma
                        Request for Order Modifying the Conditions or Term of Supervision
                                          With Consent of the Offender
                                      (Probation Form 49, Waiver of Hearing is Attached)


 Name of Offender:         Adrian Robert Jones                                Case Number:     18-CR-049-001-JED

 Name of Sentencing Judicial Officer: The Honorable John E. Dowdell, Chief Judge

 Date of Original Sentence:          July 31, 2018
 Original Offense:                   Felon in Possession of Firearms and Ammunition in violation of 18 U.S.C. §§ 922
                                     (g)(1) and 924 (a)(2); Possession of Marijuana With the Intent to Distribute in
                                     violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(D)

 Original Sentence:                  Six months imprisonment to be followed by three years supervised release

 Type of Supervision:                                            Date Supervision Commenced:    December 28, 2018
                                     Supervised Release
                                                                 Date Supervision Expires:      December 27, 2021


                                              PETITIONING THE COURT

 ց         To modify the conditions of supervision as follows:

 The defendant shall abstain from the use of any form of alcohol or intoxicating beverages.

 The defendant shall submit to alcohol testing for a period of three months using an alcohol detection device
 as directed by the Probation Officer. The defendant shall comply with the testing requirements and follow
 the Probation Officer’s instructions. The costs associated with this service will be incurred by the Northern
 District United States Probation office. The alcohol detection device may be utilized for an additional
 period of up to two months, as directed by the Probation Officer, if the defendant incurs a positive alcohol
 test.

                                                           CAUSE
 Jones commenced his term of supervised release on December 28, 2018, in the Northern District of Oklahoma. On June
 12, 2020, Jones was arrested by Oklahoma Highway Patrol Trooper Curtis for Driving Under the Influence. Jones was
 also ticketed for speeding, not having a valid driver’s license, and no insurance. Trooper Curtis observed a vehicle
 approaching him from the rear at a high rate of speed and check the vehicle’s speed at 101mph in a 65mph zone. Trooper
 Curtis initiated a traffic stop and identified the driver as Adrian Robert Jones by his Oklahoma ID card. Jones stated to
 Trooper Curtis that he was coming from a bar downtown and admitted to consuming alcohol. Trooper Curtis could smell
 the odor of alcohol coming from Jones and asked him to exit the vehicle and perform standardized field sobriety tests.
 Jones failed several portions of the tests and was placed under arrest. Trooper Curtis read Jones the implied consent law
 and Jones agreed to submit to a breathalyzer test in which he blew .10 and was subsequently booked into the Tulsa County
 Jail. As of the writing of this report, charges have not been filed in the Tulsa County District Court.
       Case 4:18-cr-00049-JED Document 33 Filed in USDC ND/OK on 07/02/20 Page 2 of 3


 Jones has submitted to urinalysis testing since he commenced his term of supervised release. On June 1, 2020, Jones
 submitted a urine specimen that tested positive for cocaine, amphetamine, and methamphetamine. Jones admitted to the
 use of ecstasy following the death of a family member. Since the positive test results, Jones has submitted two additional
 urine specimens which have tested negative. Jones is currently submitting three urine specimens for testing each month.

 The defendant, after being advised of his right to assistance of counsel, agreed to said modification and executed a
 waiver of hearing and consent to modification of conditions as set forth herein.

                                                                          Respectfully Submitted,

                                                                          by s/ Jordan Basinger
                                                                          Jordan Basinger
                                                                          United States Probation Officer
                                                                          Date: July 1, 2020

Approved:

s/
Kory McClintock, Supervising
United States Probation Officer




THE COURT ORDERS:

‫ ܆‬No action.
‫ ܆‬The extension of supervision as noted above.
ց The modification of conditions as noted above.
‫ ܆‬Other:




                                                                          7/2/2020
                                                                        Date:
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Case 4:18-cr-00049-JED Document 33 Filed in USDC ND/OK on 07/02/20 Page 3 of 3
